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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

                                                        )
 In re:                                                 ) Chapter 11
                                                        )
 ALEXANDER E. JONES,                                    ) Case No. 22-33553 (CML)
                                                        )
                       Debtor.                          )
                                                        )

                                   NOTICE OF RESET HEARING
                                      [Relates to ECF No. 38]

          PLEASE TAKE NOTICE that on December 12, 2022, Neil Heslin and Scarlett Lewis

(the “Texas Post-Trial Plaintiffs”) and David Wheeler, Francine Wheeler, Jacqueline Barden,

Mark Barden, Nicole Hockley, Ian Hockley, Jennifer Hensel, Donna Soto, Carlee Soto Parisi,

Carlos M. Soto, Jillian Soto-Marino, William Aldenberg, William Sherlach and Robert Parker (the

“Connecticut Plaintiffs” and, together with the Texas Post-Trial Plaintiffs, the “Sandy Hook Post-

Trial Families”), filed the Emergency Motion of the Sandy Hook Post-Trial Families for Relief

from the Automatic Stay [ECF No. 38].

          PLEASE TAKE FURTHER NOTICE that the hearing on this matter previously set for

December 16, 2022, at 1:00 p.m., has been reset to December 19, 2022 at 3:00 p.m. (prevailing

Central Time) in the United States Bankruptcy Court for the Southern District of Texas before

the Honorable Christopher M. Lopez, Courtroom 401, 515 Rusk, Houston, Texas 77002.

          PLEASE TAKE FURTHER NOTICE that any party wishing to call witnesses or

introduce exhibits at the hearing must exchange exhibits and file the witness and exhibit lists

required by Rule 9013-2 of the Local Rules of the United States Bankruptcy Court for the Southern

District of Texas by noon (prevailing Central Time) on Friday, December 16, 2022.
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           PLEASE TAKE FURTHER NOTICE that this hearing will be conducted in person, by

telephone and by remote video conference.         Parties wishing to participate in the hearing

telephonically may do so by dialing 1-832-917-1510 and entering conference code 590153 when

prompted.       Parties may also participate     via remote video conference by going to

https://www.gotomeet.me/JudgeLopez and clicking the “join the meeting” button.               Audio

connections by phone are required for all video participants. The meeting code is “JudgeLopez. ”

Click the settings icon in the upper right corner and enter your name under the personal information

setting.

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Dated: December 14, 2022

                                               Respectfully submitted,

 MCDOWELL HETHERINGTON LLP                     CAIN & SKARNULIS PLLC
 By: /s/ Avi Moshenberg                        By: /s/ Ryan E. Chapple
 Avi Moshenberg                                Ryan E. Chapple
 Texas Bar No. 24083532                        Texas Bar No. 24036354
 1001 Fannin Street, Suite 2700                303 Colorado Street, Suite 2850
 Houston, Texas 77002                          Austin, Texas 78701
 Telephone: (713) 337-5580                     Telephone: 512-477-5000
 Fax: (713) 337-8850                           Fax: 512-477-5011
 Email: Avi.Moshenberg@mhllp.com               Email: rchapple@cstrial.com
 Counsel for the Texas Plaintiffs              Counsel for Connecticut Plaintiffs

 CHAMBERLAIN, HRDLICKA, WHITE,                 AKIN GUMP STRAUSS HAUER & FELD
 WILLIAMS & AUGHTRY, PC                        LLP
 By: /s/ Jarrod B. Martin                      By: /s/ Marty L. Brimmage
 Jarrod B. Martin                              Marty L. Brimmage, Jr.
 Texas Bar No. 24070221                        Texas Bar No. 00793386
 Tyler W. Greenwood                            2300 N. Field Street, Suite 1800
 Texas Bar No. 24123219                        Dallas, Texas 75201
 1200 Smith Street, Suite 1400                 Telephone: (214) 969-2800
 Houston, Texas 77002                          Facsimile: (214) 969-4343
                                               Email: mbrimmage@akingump.com
 Telephone: (713) 356-1280
                                               Email: rcochrane@akingump.com
 Fax: (713) 658-2553
 Email: jarrod.martin@chamberlainlaw.com
                                               -and-
 Bankruptcy Counsel for the Texas Plaintiffs
                                               David M. Zensky (admitted pro hac vice)
                                               Philip C. Dublin (admitted pro hac vice)
                                               Sara L. Brauner (admitted pro hac vice)
                                               Katherine Porter (admitted pro hac vice)
                                               One Bryant Park
                                               New York, NY 10036
                                               Telephone: (212) 872-1000
                                               Facsimile: (212) 872-1002
                                               Email: dzensky@akingump.com
                                               Email: pdublin@akingump.com
                                               Email: sbrauner@akingump.com
                                               Email: kporter@akingump.com
                                               Bankruptcy Counsel to the Sandy Hook
                                               Families
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                                 CERTIFICATE OF SERVICE

        The undersigned certifies that on December 14, 2022, a true and correct copy of the
foregoing Notice of Hearing was served electronically on all parties registered to receive electronic
notice of filings in this case via this Court’s ECF notification system.

                                              /s/ Marty L. Brimmage
                                              Marty L. Brimmage
